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                                   SEPTEMBER, 23, 2019
                                                                          oniBim
                                                               James Cureton, 17401-052
                                                               FCI Hazelton
                                                               P.O.Box 5000
    f'                             * SEP 30 2019 ^             Bruceton Mills, WV 26525

Honorable CAROL B. AMON      RDm
United States District Judge                     OFFICE
United States District Court
Eastern District  of New York
225 Cadmen Plaza East
Brooklyn/ N.Y. 11201


RE: U.S. V. James Cureton,           16-CR-23 (CBA)



Dear Judge AMON,

                               Enclosed is a copy of my traverse in support

of my 28--U.S.C. § 2255 petition, also a copy of my motion asking to
be able to supplement my petition, or stay my petition. I fast and

pray that you grant my petition, to supplement. I believe my argument

regarding the jurisdictional element is unique, and I pray apon this

court to write a decision in favor or denial of my argument. I would

like to thank you in advance for carefully reading both motions.

                              Also, I have yet to receive a copy of the Gov.

response . My appeal lawyer emailed me parts of it or all of it. This

facility is a lock down prone type of facility, which is hindering my
ability to effectively prepare my legal defense, therefore, I am

requesting to be ordered by this court to be placed in M.D.C BROOKLYN,

pending resolution of this outcome.



                                                      espectfully submitted.
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         Sf P 3        2019


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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA




       -against-                                 16 CR. 23 (CBA)



JAMES CURETON,

                 DEFENDANT




   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT'S TRAVERSE TO
HIS 28 U.S.C. 2255 MOTION TO VACATE, SET ASIDE, CORRECT SENTENCE
IN FEDERAL CUSTODY, FEDERAL CORRECTIONAL INSTITUTION HAZELTON




JAMES CURETON a/k/a Jaquan a/k/a Q
#17401-052
FCI Hazelton
Federal Correctional Institution
P.O. Box 5000
Bruceton Mills, WV 26525
pro-se Litigant




                                                                   SfP 3 1 201S

                                                           PRO SE OFFICE
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                            PRELIMINARY STATEMENT

     Through numerous proffers and trial testimony Norbert Grigger,
admitted that he murdered (Mecca), Raymond Brooks. He alleges that the
motive was because of a kilogram of cocaine drug debt that Mecca, failed
to pay, and also that he was paid $ 25,000 dollars two weeks in advance
by a drug supplier known as (Ock) Keith Sawyer, to either collect the
drug debt, or murder Mecca. Grigger alleges that the Defendant agreed
to participate in the kilogram of cocaine drug conspiracy, and also
in the murder of (Mecca) Raymond Brooks. The Defendant acknowledges
that a drug conspiracy took place in Albany, N.Y.; However, the
Defendant adamantly avers that no kilogram of cocaine drug conspiracy
ever took place, nor did the Defendant have prior knowledge that Grigger
had a firearm on him, and intended to murder Mecca on OCTOBER 31, 2009.
The Defendants conviction was based primarily off of Grigger*s testimony.
Without Grigger*s testimony no conviction would of been had against the
Defendant.




         MATHEMATICAL EVIDENCE PROVES THAT GRIGGER"S TESTIMONY
               REGARDING THE TRIAD OF DRUG CONSPIRACIES IS
                    FABRICATED AND UNWORTHY OF BELIEF.

    The order of events of the Federal Prosecutors narrative and theory
consist of a triad of drug conspiracies.

    1. Mid-Sept. 2009, Mecca arrives in Albany, N.Y. and starts off
       with (only) heroin to sell.
    2. A month later which would be Oct. l^th. 2009 -Mecca begins to
       sell crack cocaine (for the first time), in which Grigger,
       allegedly supplies to the Defendant to give to Mecca, and Pringles
       to sell in a three to four week (several) time span.
    3. After, the alleged (initial) crack cocaine conspiracy, Mecca,
       allegedly ask (Ock) Keith Sawyer, for a bird of coke ( kilogram
       of cocaine). The alleged transaction is also said to have happened
       also in Mid-Sept, of 2009.
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                                  TIME LINE CHARTS




SEPTEMBER OF 2009

11-        -15-16-17-18-19-20-21-22-23-24-25-26-27-28-29-30
A          B-D




OCTOBER OF 2009


1-2-3-4-5-6-7-8-9-10-11-12-13-14-15-16-17-18-19-20-21-22-23-24-25-26-
                                     C              B
27-28-29-30-31
                 F




A. The Islip, N.Y. (attempted) burglary                                 9/11/2009
B. Raymond Brooks started off
      with only heroin in Albany, N.Y.                                  Mid-Sept. 2009
C. Raymond Brooks, began selling
   crack cocaine a month after selling
   heroin in Albany, N.Y.                                               10/14/2009
D. Mid-Sept. 2009 Grigger
   allegedly received a call from Ock
   concerning Mecca, asking for a bird
      of coke ( kilogram of cocaine)                                   Mid-Sept. 2009
E. Grigger, was allegedly paid
   $25,000, by Ock, two weeks in
   advance to murder Mecca                                             --10/18/2009
F. (Mecca) Raymond Brooks was murdered                                   10/31/2009
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          AUGUST OF 2009                                    SEPTEMBER OF 2009

Sun-Mon-Tue-Wed-Thu-Fri-Sat                           Sun-Mon-Tue-Wed-Thu-Fri-Sat
                               1                                 1    2     3    4    5
 2    3     4   5    6     7   8                       6    7    8    9     10   11   12
 9    10 11     12   13   14   15                    13    14   15   16     17   18   19
16   17    18   19   20   21   22                    20    21   22   23   24     25   26
23   24    25   26   27   28   29                    27    28   29   30
30   31




                                     THE TRIAD

1.                             2.                                      3.

The heroin conspiracy          The crack cocaine conspiracy           The kilogram of
                               supplied by Grigger, to the            cocaine drug
                               Defendant who then gave to             transaction and
                               Mecca, and Pringles to sell            conspiracy.
                               for (3) to (4) weeks.



          The record reveals that the Albany, N.Y. drug conspiracy between
the Defendant, Grigger, and Mecca, initially began after the September
11th, 2009, failed attempt burglary in Islip, N.Y.. The Federal prosecutor
led their cooperating witness Grigger, to testify that the alleged kilogram
of cocaine drug transaction and conspiracy took place "approximately
Mid-Sept. 2009." (See: Tr. Pg. 247 L. 18-22). The 15th is Mid-Sept,
exactly, therefore, if you place the alleged kilogram of cocaine drug
transaction and conspiracy approximately anywhere near Mid-Sept., that
would then push back and place the alleged (initial) crack cocaine
conspiracy that was allegedly supplied by Grigger, to the Defendant
to give to Mecca, and Pringles to sell in the (3) to (4) week span
that Grigger, testified to, plus the heroin conspiracy way past Sept.
11th, of 2009, and into the month of August, making Grigger's testimony
patently incredible.

                                      4
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     SEPTEMBER OF 2009                                              OCTOBER OF 2009

Sun-Mon-Tue-Wed-Thu-Fri-Sat                           Sun-Mon-Tue-Wed-Thu-Fri-Sat
           1    2    3    4      5                                              1    2    3

6      7   8    9 10 JA         12                     4       5      6    7    8    9   10

13   14    15   16   17   18    19                    11   12       13    14   15:^16    17

20   21    22   23   24   25    26                    18   19       20    21   22   23   24

27    28   29   30                                    25   26       27    28   29   30   31



           It's from Grigger's, testimony (alone) that we learn:that
Mecca, first began selling crack cocaine in Albany N.Y., a month after

the first conversation about Albany, ( See: Tr. Pg. 233 L. 20-25). The
very first conversation about Albany took place after the Sept.11th, 2009,

failed attempt burglary in Islip, N.Y.; Therefore, when you calculate

a month from the 15th of Mid-Sept., it will take you to Oct. 14th, 2009.

When you place the initial crack cocaine drug conspiracy.at 10/14/09,
as the starting date, it would actually take up the remaining weeks that

is left in the month of October. Three weeks from 10/14/09, will take

you into the month of November. Four weeks from 10/14/09, will also take
you into the month of November. Several(two weeks?), will take you to
10/27/09, leaving no room for the alleged kilogram of cocaine drug
transaction and conspiracy bo take place, nor the alleged payment in

advance of $25,000 dollars, nor the murder of Mecca, depending on which
of the alleged weeks this court chooses to adhere to, or go by. In any

event mathematically, the kilogram of cocaine drug conspiracy does not

fit, and throws the alleged drug conspiracy all the way out of sync.
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                From the time line charts we can easily see that the

triad of drug conspiracies does not fit anywhere within the (47) days
that Mecca, was in Albany, N.Y.; It's imperative to note at this time
that from 9/15/09, to 10/31/09, is a total of (47) days..There is
absolutely no algorithm of sequence where you could possibly place the

triad of drug conspiracies within the (47) days. This mathematical fact
proves that Grigger's testimony regarding the alleged triad of drug
conspiracies defies physical realities, and should be rejected by this

court. 3".he jury never had an opportunity to review these facts in this

light because it was never presented to them in this fashion and form.

The facts that were presented to the jury by the Federal Prosecution

team, were from an overly broad stand point. The federal Prosecutor's
narrative and theory when looked at from an overly broad perspective

appears worthy of belief. They (Federal Prosecutor's), presented
their narrative and theory to the jury without detailing the actual

time line of sequence of the Albany, N.Y. drug conspiracy. However,

when you place the sequence of events in their actual order, the facts

reveal that Grigger's proffers and testimony are more than merely
inaccuracies, or inconsistencies, they are clearly misleading, which

constitutes as perjury. While it was the Federal prosecution team that

obscured and clustered the facts of this case making it impossible for

the jury to unravel in order to make a rational decision; At the same

time the Defendant's trial counsel never honed in on the significance

of putting together the actual time line of the Albany, N.Y. drug

conspiracy in chronological order to show that Grigger, was being

untruthful about what really happened.
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              THE SIGNIFICANCE OF KEITH SAWYER*S STATEMENTS



          A status conference was had before the Honorable Judge

Margo K. Brodie, United States District Judge, on March 19, 2019,

in which Keith Sawyer, made the following statements. ( 18-CR-00655
CMKB) ). :

pg. 8. 1. 25. ** so I'm saying that Mr. Brooks, the person, the
pg. 9. 1. 1-11; 14-25

          1. deceased and stuff whatever, I didn't even know this guy. I
          2. didn't even know him. I met him twice. Twice_in my entire
          3. life. Once in Houston, I spent the night at the witness's,
          4. the cooperating witnesses house for tw§ or three days. He had
          5. a nice house, no furniture, we slept on the floors. And
          6. after two or three days I said, you know the next time I come
          7. down here, I'll stay at a hotel. That was the first time that
          8. I met him in my entire life.
          9. The second time I met him was coming back from down
         10. south, the witness, he asked me to stop on my way up at--he
         11. was at a barber shop in like, a — because--

         14. so I stopped. I stopped at a barber shop in his
         15. neighbohood in Staten Island projects, city housing projects,
         16. and I saw the guy there and, you know, 1 remembered him
         17. from Houston. We spoke about the Knicks and that was it.
         18. That was it. We never had another conversation. I've never
         19. spoken to this guy on the phone. I've never text him. He's
         20. never text me. He's never been to my house . I've never been
         21. to his house. I don't know him.
         22. And although it's a tragedy that he lost his life, I
         23. had zero to do with it; nothing at all to do with it. I'm no
         24. more responsible for his murder than anyone else inside this
         25. room.

pg. 10. 1. 1-10

         1. So I'm saying that, you know, I'm not trying
         2. to pull the wool over anyone's eyes, you guys have the best
         3. investigators in the world. Check my story out. You won't
         4. find me having a conversation, and text message, anything from
         5. this man. Never. I've had zero conversations outside
         6. the talk we had in Houston and in Staten Island.
         7. So for the witness to say that this was a murder
         8. because of a kilogram of cocaine, and then I turned around and
         9. paid him 25 thousand dollars, it's ridiculous. I give you a
        10. few different reasons \/v/^sy it's ridiculous.
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pg. 12. -1. 9--15

          9. DEFENDANT SAWYER: But I will-- I just want to say
         10. one last thing; right?
         11. I'm willing to take a lie detector test. 1 mean, 1
         12. know lie detector tests aren't the most reliable, but there's
         13. other things. There are other tests that you can rely on that
         14. are more reliable than just a polygraph tests. There's--l
         15. mean...



          According to Grigger, he was paid $ 25,000 dollars by Ock,
two weeks in advance to murder Mecca, or collect the alleged drug debt.
It is Grigger's uncorroborated allegation that Mecca, somehow, contacted
Ock, while he (Mecca), was in Albany, N.Y., and asked Ock, for a bird
of coke, (kilogram of cocaine). Ock, then allegedly called Grigger, to
verify the transaction. Grigger, allegedly goes to Ock's, house the next
day to discuss how much to sell the Kilogram of cocaine to Mecca. Mecca,

comes down to Brooklyn, N.Y., from Albany, to Ock's, house where Ock,

places a black tapfd up object somewhere in the car that Mecca, was
driving. During the Defendant's trial, the Defendant, did not have any
kind of evidence to refute such allegations by the cooperating witness.
Nearly three years later after the Defendant's trial Ock, Keith Sawyer,

is arrested on a Federal drug charge unrelated to this incident, and

calls Grigger's, entire allegations regarding the allege kilogram of
cocaine drug transaction and conspiracy, and murder for hire as

ridiculous. Mr. Sawyer, avers that he had zero to do with the murder of

Mecca, and that he doesn't really know Mecca. He states that he met
Mecca, twice in his life. Mecca, doesn't even have Mr. Sawyer's, phOne
to call or text Mr. Sawyer. Mecca, has never been to Mr. Sawyer's

house, making the allege kilogram of cocaine drug transaction clearly
impossible to have taken place. Mr. Sawyer's statements are paramount
and would have been crucial for the Defendant's defense at trial.
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Count two of the Defendant's indictment, 21 U.S.C. § 848(E)(1)(A),
the 280 grams or more of cocaine base, was based off of the alleged

kilogram of cocaine in question. Mr. Sawyer's statements would have
created reasonable doubt in the juror's minds. In fact count one of the
indictment, the predicate offense, drug trafficking crime, could have

only been in relation to the alleged kilogram of cocaine in question.



          THE SIGNIFICANCE OF CHARMAINE RICHARDSON*S STATEMENT




      Ms. Richardson, was interviewed by the Albany, N.Y., homicide

Detectives, where she stated that Mecca, had only been in Albany, N.Y.

for about a month.    Also, that the Defendant had called her to wish her

a happy birthday, and that the Defendant was iuppose to take her out

to a haunted house in Albany, N.Y. for her birthday, (paraphrasing).
Two critical points that is worth noting is that, 1. Mecca, was actually

in Albany, N.Y., less than (47), which puts a tighter strain on the
alleged triad of drug conspircies that Grigger, alleges. 2. Ms.
Richardson's, statement also show that the Defendant didn't merely call
her to set up a murder plot. What it shows is that the Defendant had plans

to take Ms. Richardson, out for her birthday after the alleged drug

meeting. Ms. Richardson's statement would have shown reasonable doubt
that the Defendant had any prior knowldge that Grigger, intended to

murder Mecca.
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                                    ARGUMENT

    FAILURE TO INVESTIGATE AND CALL DEFENSE WITNESSES CONSTITUTES
               INEFFECTIVE ASSISTANCE OF TRIAL COUNSEL

          Absent the incompetence of counsel or some other exceptional

circumstance, a defendant will be bound by the decisions of his counsel.

Mistakes of judgment on the part of counsel, or mistakes of tactics,

strategy or policy in the course of a criminal trial do not constitute

grounds for a later collateral attack pursuant to 28 U.S.C.S. § 2255.

Estelle V. Williams, 425 U.S. 501. 48 L. Ed. 2d 126, " under our adversary
system once a defendant has the assistance of counsel the vast array of

trial (Miisions, strategic and tactical, which must be made before and

during trial rests with the accused and his attorney." Ineffectiveness
claims in all American courts are judged by the standards set forth

in Strickland v. Washington, which requires reversal where a defendant

can show that (1) trial counsel's "performance fell below an objective
standard of reasonableness" and (2) " a reasonable probability that, but
for counsel's unprofessional error's, the result of the proceeding
would have been different." Strickland v. Washington, 466 U.S. 668, 694
(1984).

           In the matter at hand the Defendant asserts that trial counsels

strategy and trial tactics were underdeveloped. 1. Trial counsel had no

sense of awareness of the mathematical evidence in regards to the time
charts which essentially proves that Grigger's testimony was misleading
regarding the allege triad of drug conspiracies. 2. failure to investigate
and subpoena Keith Sawyer, is not only unjustifiable, but unexplainable.
3. Failure to investigate and subpoena Charmaine Richardson, is also
unjustifiable, and unexplainable. Grigger talked about a person named
Ock all through out his proffers. Trial counsel had ample opportunity
to investigate Ock, prior to trial and never did. Had trial counsel


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investigated Mr. sawyer, and Ms. Richardson, trial counsel's trial
strategy and tactics would had been different. Strategic choices are
made after a potential witness has been interviewed , not call that
witness or calling that witness to testify. An evidentiary hearing may
be required to examine what thought process was taken to decide not to
even examine these witnesses in question. The Defendant asserts that by
not making any attempt to interview these potential witnesses, made
trial counsel s performance fall below, "an objective standard of
reasonableness". The record thus far is void of any justifiable
reasonableness as to why trial counsel chose not to even interview these
witnesses, or even attempt to.locate them, before making a strategic
choice not to call these potential defense -- witnesses to testify at
Defendant s trial. Failure to investigate and interview these witnesses,
and lacking total knowledge of the time frame of the Albany, New York
drug conspiracy, made trial counsels trial decisions, strategic and
tactical ineffective and underdeveloped. For the above reasons the
Defendant believes that the first prong of Strickland v. Washington.
has clearly been met. As for prong # two, the Defendant only has to
show that a reasonable probability that, but for counsel's unprofessional
errors, the result of the proceeding would have been different. The
Defendant declares that had trial counsel made the jury aware of the
impossibility of the triad of drug conspiracies that Grigger testified
to, along with Mr. Sawyer's, testimony, alone the result would have been
different, resulting in an acquittal on all counts. There is a strong
probability that the jury would of found Grigger's entire testimony
unworthy of belief.



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Trial counsel had no defense for Grigger's trial testimony in regards
the alleged kilogram of cocaine drug transaction, or conspiracy. Trial

counsel had no defense for Grigger's trial testimony regarding the
alleged murder for hire allegations. Trial counsel was unable to

object on any grounds or refute any of it. The defendant asserts that

had trial counsel investigated and interviewed and subpoenaed Mr.

Sawyer, to testify at Defendant's trial , Mr. Sawyer's, testimony
would have been damaging to Grigger's testimony, coupled with the
fact that had trial counsel shown the jury how impossible the triad of

drug conspircies could not have taken place, along with Ms. Richardson's
statements , the probability is almost certain that the result would have

been different and favorable to the Defendant.

                  The Defendant is by no means calling trial counsel

incompetent. The Defendant is simply stating that it was a clear error

on the part of trial counsel not to interview these witnesses in question

before making a strategic decision not to call these potential defense

witnesses to testify at Defendant's trial. Giving the particular facts
of this case makes these errors Exceptional Circumstances, in which

renders trial counsels errors ineffective assistance of counsel.




                  EMPHASIZING THE FACTS, AND THE ARGUMENT

      When you place the alleged kilogram of cocaine drug transaction

and conspiracy anywhere near Mid-Sept, of 2009, it literally pushes

the alleged crack cocaine conspiracy, "listed as number two of the
triad of drug conspiricies," plus the alleged herion conspiracy,
"past", Sept. 11. 2009. This fact                     possibility of the


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 alleged kilogram of cocaine drug transaction and conspiracy taking p|aC£
anywhere , near Mid-Sept. 2009. When you place the alleged crack drug
conspiracy, at Oct. 14th, 2009, that was allegedly supplied by Grigger
to the Defendant to give to Mecca and Pringles to sell, that would then
wipe out any possibility of Grigger receiving $25,000 dollars two weeks
in advance from the death of Mecca, and push the allege kilogram of
cocaine drug transaction and conspiracy at the very end of October,
2009; Into November of 2009. These pertinent facts were never brought
to light by trial counsel making the adversary process next to nil.
      Had the jury been apprised of these facts, along with the statements
of Keith Sawyer, and Charmaine Richardson, there is a strong reasonable
probability that, but for counsel's unprofessional errors the result
of the proceeding would have been different.

       The Defendant has yet      receive the Gov.'s response,        the Defendant's
appeal lawyer emailed a copy of the response. In reply. The Gov. misses

the entire mark of the Defendant's arugment. First the Defendant agree's
with the Gov. that trial counsel did a thorough and effective cross

examination of Grigger, with the information that they had. It was the

failure to investigate these witnesses that rendered their performance

deficient, along with not being prepared and well informed prior to

trial of the facts of the alleged triad of drug conspiracies. Stating

that Sawyer would have or may have elected not to testify, invoking his

Fifth Amendment, is speculation. Statung that Mr. Sawyer, would ha;ve

committed perjury, and that counsel for ethical reasons wouldn't risk
suborn perjury, again is mere speculation that Mr. Sawyer, would even

commit such an act. The Defendant is not focused on attempting to add

further impeachment ammunition. The Defendant asserts that Grigger,
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blatantly committed perjury. This case is not a simple drug case,
it's a first degree murder charge where a conviction was had based
on false testimony    by the cooperating witness. The defendant is not
in denial of being a drug dealer, nor of being present when a murder
took place. Mr. Sawyer, is not in denial of being a drug dealer, his
statements on March 19,2019 make that very clear. Selling drugs and
being involved in a first degree murder charge is extremely different,
like night and day. Trial counsel never investigated this witness
Mr. Sawyer, and never gave Sawyer a chance to test whether his testimony
would have been believable or not. He could have submitted sawyer, to a
polygraph test for trial counsel's own purposes as to whether he should
Sawyer, on the stand or not. Without, even investigating this witness
trial counsel's trial strategy, or strategic choice not to investigate
this witness is unjustifiable, and render's his assistance of counsel
ineffective. See Greiner v. Wells, 417 F.3d 305(2d cir. 2005)" the
Defendant is not arguing failure to subpoena. The Defendant is arguing
failure to investigate." Trial counsel had every opportunity to locate
Mr. Sawyer, and Ms. Richardson, but failed to do so. Trial counsel had
ample time to familiarize themselves with the facts of this case and
they didn't which render's their assistance of counsel ineffective.                No
matter how thorough their cross-examination was towards Grigger, is of
no significance, sense they were unaware of the particular facts of the
triad of drug conspiracies that Grigger, was allowed to testify to
without objection. It made the adversary process unfair and ineffective.
It was Grigger's, testimony alone that alleges that the Defendant knew
in advance that Grigger, had a firearm on him (Grigger). Had the jury


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been made aware of the fact that Grigger, lied under oath regarding the

triad of drug conspiracies, there is a reasonable probability that they

would have chose to not believe Grigger, at all. The Defendant is

entitled to the effective assistance of counsel, by the United States

Constitution, under the Sixth Amendment, This a guarantee for all U.S.

citizens.   The Fourteenth Amendment, guarantess DUE PROCESS, also for

every U.S. citizen. See Napue v. illinois, 360 U.S. 264, " A lie is A
lie," ; Mooney V. Holohan, 294 U.S. 103; Giglio v. United States, 405
U.S. 150; Taylor v. Lombard, 606 F. 3d 371 ;        Dubose v. Lefevre, 619 F.

2d 973. See also Berryman v. Morton,       100 F.3d 1089 (3rd cir. 1996)
" Failure to investigate and call defendse witnesses constituted ineffective
assistance of counsel. Mr. Sawyer's testimony would have supported the

fact that Grigger, committed perjury. Perjury is stronger than just

merely impeachment purposes. The facts are clear in this case and can

not be disputed, Grigger, apparently lied to a material fact. The

mathematical evidence shows this fact. Trial counsel never pointed this

fact out to the jury because trial counsel was unaware of this fact.

Failure to familiarize themselves with the facts of the case rendered

their assistance ineffective. It is unsound strategy not to inform the

jury that the triad of drug conspiracies that Grigger, testified to

were mathematically impossible. There is no explanation for such neglect.

The above facts rendered the Defendant's trial unfair. A conviction had

on perjured testimony to material facts is unconstitutional. It is in

the Great interest of justice that the Defendant be awarded an evidentiary

hearing regarding the pertinent issues, and that the Defendant be given

an opportunity to prove in front of this court 1. The perjured testimony

of Griger, 2. trial counsel's neglect of being properly prepared , which


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rendered their trial strategies ineffective. 3. failure to investigate
Mr. sawyer, and Ms. Richardson, without reason is unexplainable,
especially when a private investigator was at their disposal. The
Defendant would also like to question the private investigator at
the evidentiary hearing to find out what if anything did the private
investigator investigate.



                                        CONCLUSION

        Because trial counsel was ineffective by failing to investigate
key defense witnesses, and by failing to apprise themselves of the
pertinent facts of Defendants case, and by failing to show the jury
that the cooperating witness Grigger, committed perjury, denied the
Defendant the effective assistance of trial counsel. The Defendant

respectfully request that His conviction be set aside, and granted a
new trial under 28 U.S.C. § 2255.




Dated: Hazelton, WV
       September 23,2019


       Respectfully submitted,


       James Cureton, a/k/a
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